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10                          UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,               No. CR 22-101-SVW

13             Plaintiff,                    GOVERNMENT’S SENTENCING POSITION
                                             REGARDING DEFENDANT TING HONG
14                   v.                      YEUNG; EXHIBIT

15   TING HONG YEUNG,                        Hearing Date: August 29, 2022
                                             Hearing Time: 11:00 a.m.
16             Defendant.                    Location:     Courtroom of the
                                                           Hon. Stephen V.
17                                                         Wilson

18

19        Plaintiff United States of America, by and through its counsel
20   of record, the Acting United States Attorney for the Central District
21   of California and Assistant United States Attorney Alexander B.
22   Schwab, hereby files its sentencing position for defendant Ting Hong
23   Yeung.
24        This sentencing position is based upon the attached memorandum
25   of points and authorities, Exhibit A to the sentencing position
26   (filed under seal), the presentence investigation report
27   //
28   //
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 1   (“PSR”), the files and records in this case, and such further

 2   evidence and argument as the Court may permit.

 3   Dated: August 15, 2022               Respectfully submitted,

 4                                        STEPHANIE S. CHRISTENSEN
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 8                                              /s/
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                                          UNITED STATES OF AMERICA
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 1                      MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.    INTRODUCTION

 3         Over the better part of a decade, defendant Ting Hong Yeung

 4   swindled Amazon out of more than $1.3 million by gaming its third-

 5   party seller platform.     He now faces sentencing for wire fraud.

 6         Defendant’s crime was both immensely profitable and the product

 7   of significant effort; it therefore requires a sentence sufficient to

 8   reflect the seriousness of his crime and deter others from following

 9   a similar path.    At the same time, defendant was unusually swift in

10   accepting responsibility for his crime and agreeing to make

11   restitution.    The government therefore agrees with the Probation

12   Office that a 27-month sentence, which falls at the low end of

13   defendant’s guideline range, is sufficient but not greater than

14   necessary to achieve the goals of sentencing set forth in 18 U.S.C.

15   § 3553(a).

16   II.   STATEMENT OF FACTS

17         As part of his factual basis to his plea agreement and change of

18   plea, defendant admitted to the following facts:

19              Beginning no later than 2013, and continuing through
           at least April 30, 2020, in Los Angeles County, within the
20         Central District of California, and elsewhere, defendant,
           knowingly and with the intent to defraud, devised,
21         participated in, and executed a scheme to defraud
           Amazon.com, Inc. (“Amazon”), as to material matters, and to
22         obtain money and property from Amazon by means of material
           false and fraudulent pretenses, representations, and
23         promises.

24                At times relevant to the charge in the information:

25              Both Amazon and third-party sellers used Amazon’s
           online platform to make retail sales to Amazon customers.
26         Third-party sellers who wished to use Amazon’s platform
           were required to register for an Amazon seller account,
27         which required a bank account number and bank routing
           number; chargeable credit card; government-issued
28         identification; tax information; and a phone number.
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 1        Third-party sellers approved for Amazon seller accounts
          were provided access to an online portal called Seller
 2        Central, through which third-party sellers could manage
          inventory, communicate with customers, contact Amazon, and
 3        update payment information.

 4             When a customer purchased an item from a third-party
          seller, Amazon credited the associated Amazon seller
 5        account for that purchase. Third-party sellers were
          responsible for providing Amazon with the tracking number
 6        for each shipment corresponding to an individual sale.
          Roughly every fourteen days, Amazon disbursed funds from
 7        the Amazon seller account into the associated bank account
          for that third-party seller for sales with a corresponding
 8        tracking number. When a customer sought to return an item
          purchased from a third-party seller, the seller was
 9        generally responsible for providing return options and
          paying a refund from the seller’s Amazon account. If the
10        third-party seller did not provide a refund (or could not,
          due to a lack of funds in the seller’s Amazon account),
11        customers could seek a refund directly from Amazon. Amazon
          deducted the cost of the refund from the seller’s Amazon
12        account, when it held sufficient funds to do so, prior to a
          disbursement of those funds to the seller.
13
               Over the course of the scheme, defendant used various
14        Amazon seller accounts he either registered or controlled,
          and which were in the names of various business entities he
15        controlled, including “Special SaleS,” “California Red
          Trading, Inc.,” “Speedy Checkout, Inc.,” “Expeditious
16        Enterprise, Inc.,” and “LV Consultants, Inc.” The Amazon
          seller accounts for these businesses, in turn, linked to
17        bank accounts for which he was an authorized signer or over
          which he otherwise exerted control.
18
               The scheme generally operated as follows: after some
19        period of normal activity, defendant began listing high-
          priced items, such as furniture or home décor, on one of
20        his Amazon seller accounts at prices far below those
          offered by competitors. This generally caused a spike in
21        sales. As Amazon customers placed orders, defendant
          falsely confirmed order shipments with tracking information
22        that did not, in fact, correspond to an actual shipment.
          Instead of satisfying the orders, defendant instead
23        employed various delay tactics, including false responses
          to customer inquiries that orders were on their way or by
24        shipping low-value crystal ornaments, which created the
          further appearance to Amazon that merchandise had, in fact,
25        been shipped and induced customers to delay complaints or
          requests for refunds. Defendant would carry on these delay
26        tactics long enough to cause Amazon to disburse the funds
          in his Amazon seller account into the associated bank
27        account he controlled, leaving Amazon responsible for
          reimbursing customers who did not receive their orders for
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 1        any amounts in excess of the balance of funds remaining in
          that Amazon seller account.
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               In furtherance of the scheme, on February 18, 2020,
 3        for example, defendant communicated with a customer using
          Amazon’s Buyer-Seller Messaging Service, which provided
 4        wire communications between buyers and sellers using
          encrypted email addresses routed through Amazon. The
 5        customer sent a message as follows:

 6              Hello, I’ve received a crystal ornament and a note
                saying that my couch will arrive, March 6th-18th.
 7              Please advise why the product I ordered has been
                labeled as “Delivered” when I have yet to receive the
 8              item that I have purchased. This feels like a scam.
                Thank you
 9
          In response, and in order to delay any complaint being
10        lodged by the customer, defendant wrote,

11              HI How we are scam? Your order ship day is Mon, Mar
                2, 2020 to Fri, Mar 6, 2020 .Deliver by: Fri, Mar 6,
12              2020 to Wed, Mar 18, 2020 . May I know do you want
                full refund ?
13
          These communications took place by means of interstate wire
14        transmission.

15             As part of the scheme, defendant also submitted
          fraudulent refund claims to Amazon. Using credit cards in
16        the names of other persons and fictitious names, defendant
          caused products to be purchased from Amazon in order to
17        fulfill orders made through one of his seller accounts.
          After the correct product was delivered to the customer,
18        defendant caused a refund request to be submitted to
          Amazon, often selecting as the reason that the product was
19        “Different from what was ordered.” Instead of returning
          the originally ordered product, defendant caused the return
20        of a substitute product of lower value, such as damaged
          goods, receiving the benefit of the refund as well as the
21        proceeds of the sale of the originally ordered product to
          the customer.
22
               As a result of defendant’s scheme, Amazon was forced
23        to reimburse customers approximately $1,142,360 in excess
          of the funds available in defendant’s Amazon seller
24        accounts, and Amazon paid out approximately $160,594 on
          fraudulent refund claims submitted or orchestrated by
25        defendant. In total, defendant’s scheme therefore caused
          approximately $1,302,954 in losses to Amazon.
26

27   (Plea Agreement ¶ 10, at 7-10).

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 1   III. SENTENCING GUIDELINES

 2         The government agrees with the PSR’s calculation of defendant’s

 3   sentencing guidelines, which is also consistent with the plea

 4   agreement:

 5     Base Offense Level:                      7         [USSG § 2B1.1(a)(1)]

 6     Loss > $550k                         +14        [USSG § 2B1.1(b)(1)(H)]

 7     Acceptance of Responsibility          -3                  [USSG § 3E1.1]

 8     TOTAL                                 18

 9   Coupled with defendant’s lack of prior criminal history, the result

10   is a guideline range of 27 to 33 months’ imprisonment.          The

11   government joins the Probation Office’s recommendation of 27 months,

12   which falls at the low end of this range.

13   IV.   ARGUMENT

14         A.     The Seriousness of the Offense and Need for General
                  Deterrence
15

16         While all the § 3553(a) factors support a guideline sentence of

17   imprisonment in this case, the seriousness of defendant’s offense and

18   the need for general deterrence are particularly salient here.

19         First, though defendant has no prior criminal history, his crime

20   was not a lapse in judgment or an aberration from an otherwise law-

21   abiding life.    He perpetrated his fraud over the course of roughly

22   seven years, collecting more than $1.3 million.         He forced his victim

23   into an elaborate game of Whac-A-Mole: when Amazon uncovered and shut

24   down a fraud scheme involving one of defendant’s companies, he simply

25   began it anew with another.      But for defendant’s eventual encounter

26   with law enforcement, there is no reason to believe he would not have

27   continued with his scam indefinitely.

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 1        While Amazon ultimately suffered the direct financial losses

 2   from defendant’s scheme, others were harmed as well.          As explained in

 3   Exhibit A, in addition to the monetary losses defendant caused Amazon

 4   and the costs associated with investigating the fraud, defendant’s

 5   harmed other third-party sellers using Amazon’s platform.            (Exh. A,

 6   at 2).   These third-party sellers were deprived of opportunities to

 7   sell to the customers that defendant swindled.         And just as

 8   importantly, the ability of small businesses to operate as third-

 9   party vendors on Amazon’s platform depends on people’s trust in the

10   system’s soundness; the more that scams like this one disrupt

11   services to customers, the less willing they will be to make online

12   purchases from third parties using Amazon’s platform.

13        The calculated nature of the offense and the seven-figure

14   profits defendant reaped also demonstrate the need for the sentence

15   to provide general deterrence.      As the operator of small businesses

16   with an online presence, defendant is exactly the type of individual

17   most likely to make decisions based on a cost-benefit analysis, and

18   the sentence must be sufficient to discourage similarly situated

19   individuals from following a similar course of conduct.          As the case

20   law acknowledges, “[d]efendants in white collar crimes often

21   calculate the financial gain and risk of loss, and white collar crime

22   therefore can be affected and reduced with serious punishment.”

23   United States v. Martin, 455 F.3d 1227, 1240 (11th Cir. 2006).            In

24   this case, the Sentencing Guidelines generally provide an appropriate

25   measure of such a sentence, since the financial losses that

26   defendant’s crime inflicted correspond to the profits defendant

27   realized from his scheme.

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 1        B.    Mitigating Considerations

 2        Notwithstanding the scale and scope of defendant’s fraud, two

 3   factors stand in mitigation, though both are already accounted for by

 4   the Sentencing Guidelines.

 5        First, defendant has no prior criminal history.          This fact is,

 6   however, already reflected in defendant’s Category I criminal

 7   history.   In fact, defendant’s criminal history score may in some

 8   ways understate the degree of his criminal intent, since he carried

 9   out his fraud scheme from 2013 to 2020.

10        Second, defendant’s acceptance of responsibility in this case

11   was unusually swift; investigators executed a search warrant on

12   defendant’s home on February 10 (PSR ¶ 21, at 6), and defendant

13   signed his plea agreement on March 16 (CR 3).         Defendant is already

14   receiving a three-level reduction in his offense level under USSG

15   § 3E1.1 for acceptance of responsibility, and the Sentencing

16   Guidelines prescribe that additional departures for early acceptance

17   of responsibility are prohibited.       USSG § 5K2.0(d)(2).     Defendant’s

18   prompt resolution of his case does, however, demonstrate a bona fide

19   acknowledgment of wrongdoing and a willingness to make amends, which

20   suggests a sentence at the low end of defendant’s guideline range is

21   sufficient to achieve the goals of sentencing in this case.

22   V.   RESTITUTION

23        As part of the factual basis to defendant’s plea agreement, he

24   agreed to causing actual losses to Amazon of $1,302,954.           The

25   Mandatory Victims Restitution Act requires imposition of a

26   restitution order for this amount, see 18 U.S.C. § 3663A, and

27   defendant agreed as part of his plea agreement to make restitution.

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 1   VI.   CONCLUSION

 2         For the foregoing reasons, the government joins the Probation

 3   Office in recommending that this Court impose a sentence of 27

 4   months’ imprisonment followed by two years of supervised release,

 5   restitution of $1,302,954, and a $100 special assessment.

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                      EXHIBIT A
          (Filed Separately
             Under Seal)
